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                                                                                   DEC 1 ~ 2016
                  IN THE UNITED STATES DISTRICT COURT                           Clerk, U.S. Distnct Court
                                                                                  District Of Montana
                      FOR THE DISTRICT OF MONTANA                                        Billings

                            BILLINGS DIVISION


 UNITED STATES OF AMERICA,
                                                   CR 16-68-BLG-SPW-2
                      Plaintiff,

 VS,                                                 ORDER

 MATTHEW KEITH PRICE,

                      Defendant.

       Upon the Court's own Motion,

       IT IS HEREBY ORDERED that sentencing currently scheduled for

Thursday, February 16, 2017 at 9:30 a.m., is VACATED and reset to commence on

Thursday, February 16, 2017 at 1:30 p.m. in the James F. Battin U.S.

Courthouse, Billings, Montana.

       The Clerk shall forthwith notify the parties of the making of this Order.

                  .   /Q'vA-
       DATED this _LL_ day of December, 2016)

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                                              ~s~u~s~A~N~Prr.~w....,,A~I~'I~ER:.,.,.....,s~~~~~~
                                              U.S. DISTRICT JUDGE




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